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                           9   Attorneys for Plaintiff J.P. by and through his
                               Guardian ad litem, Shannon Villanueva
                          10

                          11                                 UNITED STATES DISTRICT COURT
                          12                      NORTHERN DISTRICT OF CALIFORNIA — OAKLAND
San Francisco, CA 94111
 100 Pine Street, #1250
  DE VRIES LAW, P.C.




                          13   J.P., by and through his Guardian Ad Litem,       Case No.: 4:17-cv-5679-YGR
                               SHANNON VILLANUEVA,
                          14
                                               Plaintiff,                        STIPLUATION AND [PROPOSED]
                          15                                                     ORDER CONTINUING TWO CASE-
                                       v.                                        MANAGEMENT DATES/DEADLINES
                          16
                               COUNTY OF ALAMEDA, DIANE DAVIS
                          17   MAAS, SUE MAY, TRIA FAMILY SERVICES, Complaint Filed:                 October 2, 2017
                               MARIA REFUGIO MOORE, and Does 1-30   Trial Date:                      November 7, 2022
                          18   inclusive,
                          19                   Defendants.
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                                   STIP AND [PROPOSED] ORDER CONT. TWO CM DATES/D/LS, CASE NO. 4:17-cv-5679-YGR
                                   Case 3:17-cv-05679-LB Document 196 Filed 07/05/22 Page 2 of 4




                           1            Plaintiffs J.P., by and through his Guardian Ad Litem, Shannon Villanueva (“Plaintiff”) and

                           2   Defendants COUNTY OF ALAMEDA and TRIAD FAMILY SERVICES (collectively

                           3   “Defendants”), jointly submit this Stipulation and [Proposed] Order.

                           4            Magistrate Judge Laurel Beeler conducted a Mandatory Settlement Conference on June 27,

                           5   2022 inviting the parties to consider a mediator’s proposal with a deadline to respond of Thursday,

                           6   July14, 2022. The parties now diligently and jointly request, based on good cause, that this Court

                           7   amend the scheduling orders to incorporate a brief continuance of two dates, as follows:

                           8            (1)    Extend the last day to disclose experts from July 25, 2022 to August 8, 2022;
                                               and,
                           9            (2)    Set the last day to file dispositive motions from July 14, 2022 to July 26, 2022
                                               (with 35 days’ notice), and, a hearing date of August 30, 2022.
                          10

                          11            IT IS SO STIPULATED AND REQUESTED.

                          12                                                           Respectfully Submitted,
San Francisco, CA 94111
 100 Pine Street, #1250




                                                                                       MATHENY SEARS LINKERT JAIME, LLP
  DE VRIES LAW, P.C.




                          13                                                    By:

                          14    Date:    June 29, 2022                                 /s/ Ronald E. Enabnit
                                                                                       Ronald E. Enabnit,
                          15                                                           Attorney for Defendant
                                                                                       TRIAD FAMILY SERVICES
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                          18                                                           HAAPALA, THOMPSON & ABERN, LLP

                          19                                                     By:

                          20    Date:    June 29, 2022                                 /s/ Jody Struck
                                                                                       Jody Struck
                          21                                                           Attorney for Defendants
                                                                                       COUNTY OF ALAMEDA,
                          22                                                           DIANE DAVIS MAAS, AND SUE MAY
                          23

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                          25                                                           KESSLER LAW OFFICE
                          26
                                Date:    June 29, 2022                          By:    /s/ Darren J. Kessler
                          27                                                           Darren J. Kessler
                                                                                       Attorney for Plaintiff J.P., by and through
                          28                                                           his GAL, SHANNON VILLANUEVA
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                                   STIP AND [PROPOSED] ORDER CONT. TWO CM DATES/D/LS, CASE NO. 4:17-cv-5679-YGR
                                   Case 3:17-cv-05679-LB Document 196 Filed 07/05/22 Page 3 of 4




                           1                                                          DE VRIES LAW, P.C.

                           2

                           3    Date:    June 29, 2022                           By: /s/ Lizabeth N. de Vries
                                                                                     Lizabeth N. de Vries
                           4                                                         Attorney for Plaintiff J.P. by and through his
                                                                                     GAL, SHANNON VILLANUEVA
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                           6
                                                         ELECTRONIC CASE FILING ATTESTATION
                           7
                                        I, Lizabeth N. de Vries, am the ECF user whose identification and password are being used
                           8
                               to file the foregoing documents. Pursuant to Civil Local rule 5.1(i), I hereby attest that concurrence
                           9
                               in the filing of these documents has been obtained from each of its signatories.
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                                                                                      DE VRIES LAW, P.C.
                          12
San Francisco, CA 94111
 100 Pine Street, #1250
  DE VRIES LAW, P.C.




                          13
                                Date:    June 29, 2022                           By: /s/ Lizabeth N. de Vries
                          14                                                         Lizabeth N. de Vries
                                                                                     Attorney for Plaintiff J.P. by and through his
                          15                                                         GAL, SHANNON VILLANUEVA
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                                   STIP AND [PROPOSED] ORDER CONT. TWO CM DATES/D/LS, CASE NO. 4:17-cv-5679-YGR
                                   Case 3:17-cv-05679-LB Document 196 Filed 07/05/22 Page 4 of 4




                           1                                          [PROPOSED] ORDER

                           2            Having considered the stipulation of the parties and good cause appearing, the case-

                           3   management schedule is hereby amended as follows:

                           4            (1) The last day to disclose experts shall be extended from July 25, 2022 to August 8,
                           5                2022; and,

                           6            (2) The last day to file dispositive motions shall be continued from July 14, 2022 to
                                            July 26, 2022 (with 35 days’ notice), for hearing on August 30, 2022.
                           7

                           8            IT IS SO ORDERED.

                           9

                          10    Date:    July 5, 2022
                                                                                 Honorable Yvonne Gonzalez Rogers
                          11                                                     United States District Court Judge
                          12
San Francisco, CA 94111
 100 Pine Street, #1250
  DE VRIES LAW, P.C.




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                                   STIP AND [PROPOSED] ORDER CONT. TWO CM DATES/D/LS, CASE NO. 4:17-cv-5679-YGR
